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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE META PIXEL HEALTHCARE                        Case No. 22-cv-03580-WHO (VKD)
                                         LITIGATION
                                   8
                                         This Document Relates To:                          ORDER RE JANUARY 14, 2025
                                   9                                                        DISCOVERY DISPUTE RE
                                                        All Actions.                        ADDITIONAL CUSTODIANS
                                  10
                                                                                            Re: Dkt. Nos. 770-3, 771, 789-2
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                                  12
Northern District of California
 United States District Court




                                  13          The parties ask the Court to resolve their dispute regarding plaintiffs’ request that Meta

                                  14   search for and collect documents from four additional custodians. Dkt. No. 770-3. The Court

                                  15   finds this matter suitable for resolution without oral argument. Civil L. R. 7-1(b).

                                  16          The parties advise that Meta has reviewed and produced documents from 36 custodians, as

                                  17   well as from several non-custodial sources to date. See Dkt. No. 770-3 at 3, 4; see also Dkt. No.

                                  18   315. Plaintiffs now ask the Court to order Meta to review and produce documents from four

                                  19   additional custodians: Sheryl Sandberg (Meta’ former Chief Operating Officer), Jenny Lin (a

                                  20   privacy program manager), Manish Singhal (an engineer), and James Covey (a strategic response

                                  21   employee). Dkt. No. 770-3 at 1-2. Plaintiffs argue that each of these custodians possesses

                                  22   “unique relevant documents,” and it would impose no undue burden to require Meta to review and

                                  23   produce documents from these custodians. Id. at 1-3. Meta responds that plaintiffs delayed too

                                  24   long—until one month before the December 18, 2024 deadline for substantial completion of

                                  25   document production—to ask Meta to search additional custodians’ files. Id. at 4. Meta also

                                  26   argues that not one of the additional four custodians is likely to have relevant, non-duplicative

                                  27   documents, and to require Meta to collect and review their files now would require three months

                                  28   to complete, necessarily delaying the case schedule. Id. at 4-6.
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                                   1           The Court agrees with Meta that plaintiffs’ request for additional custodians comes very

                                   2   late in the discovery process, and plaintiffs’ justification for their delay is not persuasive,

                                   3   particularly given plaintiffs’ oft-expressed concerns about delaying the completion of discovery.

                                   4   To be clear, nothing in the Court’s prior order or remarks “endorsed” the timing of plaintiffs’

                                   5   present demand. See id. at 3.

                                   6           Nevertheless, the Court has carefully considered plaintiffs’ justifications for why they

                                   7   believe Meta should be required to review and collect documents from these four additional

                                   8   custodians. While plaintiffs do not actually say how the documents they expect to find in these

                                   9   custodians’ files are relevant to a claim or defense in this action, the Court has attempted to make

                                  10   the necessary inferences. See, e.g., Dkt. No. 315 at 2-3 (discussing relevant subject matter). With

                                  11   some limited exceptions, plaintiffs have not shown that Meta should be required to review and

                                  12   produce documents from these custodians:
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                                  13           1.      The Court finds no reasonable justification for requiring Meta to review and

                                  14   produce documents from Jenny Lin or James Covey.

                                  15           2.      For Sheryl Sandberg, Meta must search for and produce the talking points linked at

                                  16   PIXEL_HEALTH000650129 and the brief referenced in PIXEL_HEALTH000121306, if those

                                  17   documents are responsive to plaintiffs’ document requests and not privileged; otherwise, plaintiffs

                                  18   have not shown that Meta should be required to collect, review, and produce Ms. Sandberg’s

                                  19   custodial documents.

                                  20           3.      For Manish Singhal, the Court concludes that Mr. Singhal is likely to have unique

                                  21   documents regarding (1) proposed changes relating to transmission of certain information via the

                                  22   Pixel in September 2022, and (2) assessing the impact of those changes on Meta’s revenue. While

                                  23   other engineers were also involved with these matters, the documents cited and described to the

                                  24   Court suggest that Mr. Singhal had at least some unique responsibilities. See id. at 2, 6; see also

                                  25   Dkt. No. 739-15 (PIXEL_HEALTH000000719). However, Meta need only collect and review for

                                  26   responsiveness documents concerning Mr. Singhal’s work on these specific matters between

                                  27   ///

                                  28   ///
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                                   1   September 2022 and whenever his work was completed.

                                   2          IT IS SO ORDERED.

                                   3   Dated: February 10, 2025

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                                                                                             Virginia K. DeMarchi
                                   6                                                         United States Magistrate Judge
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 United States District Court




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